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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

JOEL LOPEZ LOPEZ,

     Plaintiff,

v.                                                Case No: 8:22-cv-513-VMC-AAS

HYDERABAD CATERERS, LLC,
FARHEEN BANO and AMIN MOHAMMAD,

     Defendants.
                                        /

                              FLSA SCHEDULING ORDER

     Pursuant to Federal Rule of Civil Procedure 16, the Court finds it

necessary   to    implement   a   schedule     tailored   to    meet   the    particular

circumstances of this case which is based on the Fair Labor Standards Act

(“FLSA”). Therefore, consistent with the just, speedy and inexpensive

administration of justice, Fed. R. Civ. P. 1, it is

     ORDERED that the provisions of Rule 26(a)(1) and Local Rule 3.02

concerning the initial disclosures and filing of a Case Management Report

are hereby waived in this case. Instead, the parties shall comply with the

following schedules:

     1.     No later than March 25, 2022, the parties shall serve upon each

other (but not file) copies of the following:

            (a)     Plaintiff:    All   documents    in    Plaintiff’s       possession,

custody, or control that pertain to the unpaid wages claimed in the Complaint.

            (b)     Defendant:    All   time    sheets    and   payroll      records   in

Defendant’s possession, custody or control that pertain to work performed by
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Plaintiff during the time period for which Plaintiff claims unpaid wages.

      2.     No later than April 11, 2022, Plaintiff shall answer the Court’s

Interrogatories under oath or penalty of perjury, serve a copy on Defendants,

and   file   the   answers   with   the   Court   entitled   “Answers   to   Court’s

Interrogatories.”

      3.     No later than fifteen days after Plaintiff files Answers to the

Court’s Interrogatories, Defendants shall serve on Plaintiff and file with

the Court a Verified Summary of all hours worked by Plaintiff during each

relevant pay period, the rate of pay and wages paid, including overtime pay,

if any.

      4.     In collective actions, the exchange of documents as referenced

in Paragraph 1 shall occur with respect to opt-in Plaintiffs who join the

action prior to the dissemination of a court-approved opt-in notice. Said

exchange of documents shall occur within twenty-one days of their filing of

opt-in notices with this Court, and such opt-in Plaintiffs shall thereafter

file and serve their respective Answers to the Court’s Interrogatories within

an additional twenty-one days.

      5.     Until further order of this Court, all discovery in this case is

STAYED, except as provided in this Order.

      6.     This case is referred to mediation. The Court appoints Mark A.

Hanley, of Bradley Arant Boult Cummings, LLP, 100 South Ashley Drive, Suite

1300, Tampa, Florida 33602, (813)-229-3333, as mediator.

      7.     Scheduling Mediation: The mediation conference shall be conducted

on or before May 9, 2022. However, the parties are not permitted to mediate
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until the information exchange outlined in this Order, including answers to

interrogatories and Verified Summary, has been completed.

     8.    Rescheduling Mediation: If the mediation date is approaching, and

the parties realize they will not be able to complete the document and

information exchange called for herein, the parties are directed to file a

motion to reschedule the mediation. In any event, once the mediation has been

scheduled, the parties may not unilaterally reschedule the mediation

conference—a motion must be filed, and leave of Court obtained, if they seek

to reschedule the mediation. In the motion to reschedule, counsel must include

the proposed date of rescheduling; the Court reserves the right to deny any

motion that seeks to reschedule the mediation conference for a date beyond

the deadline set in Paragraph 7. If the Court authorizes the parties to

reschedule the mediation conference, the parties may still be required to

pay the mediator’s cancellation fee. Thus, the parties are strongly

encouraged to promptly exchange documents and information as required herein,

and to diligently adhere to all deadlines to avoid unnecessary expense.

     9.    Cancelling Mediation: Once the mediation conference is set,

neither party may cancel the mediation without first obtaining leave of

Court, even if the parties have reached a settlement.

     10.   Designation and Responsibility of Lead Counsel: Anthony M.

Georges-Pierre, Esq., is designated as lead counsel and shall consult both

the mediator and other counsel to coordinate the date and time of the

mediation. By March 24, 2022, Lead Counsel shall file a Notice of Mediation

giving the agreed date and time of mediation. Once scheduled, the agreed date
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for the mediation conference shall operate as the mediation deadline in lieu

of the date set forth in Paragraph 7. Extension of the mediation deadline

requires leave of Court. Before moving for an extension of the mediation

deadline, the movant shall consult with both the mediator and opposing counsel

to determine an agreed date and time for the mediation, if rescheduled. In

accord with Local Rule 3.01(g), a motion for an extension of the mediation

deadline shall include, along with the proposed mediation date and time, a

statement certifying that the movant has conferred with opposing counsel and

stating whether counsel agree on the resolution of the motion. Because the

Court expects diligence and good faith from the parties, a motion for

extension of the mediation deadline is increasingly disfavored as the

mediation deadline approaches.

     11.   General Rules Governing the Mediation: Although mediation is

defined in greater detail in Chapter Nine of the Local Rules, the following

additional guidelines are imposed upon the mediation:

           (a)   Not later than five working days prior to the scheduled

mediation conference, each party shall email directly to the mediator the

documents described in Paragraphs 1 through 3.

           (b)   Authority of the Mediator: The mediator shall have the

authority to consult and conduct conferences and private caucuses with

counsel, individual parties, corporate and municipal representatives and

claims professionals, to suggest alternatives, analyze issues, question

perceptions, stimulate negotiations, and keep order. The mediation shall

continue until adjourned by the mediator. No participant may compel the early
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conclusion of a mediation because of travel plans or other engagements. Only

the mediator may declare an impasse or end the mediation. In order to

coordinate the mediation conference, the mediator may set an abbreviated

scheduling conference prior to the scheduled mediation.

               (c)    Authority     to   Declare   Impasse:   Although   the   average

mediation usually takes between 3-5 hours, participants shall be prepared to

remain until the mediator declares an impasse.

               (d)    Attendance: The Court directs that all counsel, parties,

corporate representatives, and any other required claims professionals shall

be present at the mediation conference with full authority to negotiate a

settlement.

     12.       Compensation of the Mediator: The mediator shall be compensated

at the mediator’s prevailing hourly rate, which, unless otherwise agreed by

counsel, shall be borne equally by all parties and payable immediately upon

the conclusion of mediation. The parties shall comply with any reasonable

cancellation policy established by the mediator.

     13.       Results of Mediation: Lead Counsel must file a notice informing

the Court of the results of the mediation conference within twenty-four hours

from the conclusion of the mediation conference.

     14.       Case Management Report and Additional Information: In the event

mediation does not result in settlement of this action, the parties must

conduct    a   case    management    meeting   immediately    after   the   mediation

conference, during which the parties shall jointly prepare the attached

fast-track case management report. The parties shall file the completed
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fast-track case management report within twenty-four hours of the conclusion

of the mediation conference. In addition, the parties shall file a separate

notice also within twenty-four hours of the conclusion of the mediation

conference informing the Court of the legal issues they believe will need

to be resolved at the summary judgment stage and/or the factual matters they

believe will be at issue during trial.

     15.   Case Management Hearing: After review of the parties’ fast-track

case management report, the Court will determine if a Case Management Hearing

is required. If a Case Management Hearing is necessitated, the Court will

conduct such hearing approximately one week after the parties’ mediation

conference. The Court will enter a notice indicating the date and time of

the hearing. Counsel are advised that this case will be set for trial

approximately 90-120 days after the mediation conference. At the Case

Management Hearing, this Court will address any scheduling conflicts the

parties may have.

     16.   If the parties are able to agree on settlement in this case, they

are directed to immediately notify the Court, to submit the terms of the

resolution of this case, and to file a Motion for Court Approval of the

Settlement within ten days from the date of the Notice of Settlement.

     17.   In the event that no settlement is reached pursuant to these

procedures, and this Court later grants a motion permitting notice to be sent

to similarly situated individuals advising them of their right to opt-in to

this action, the limitations period for any person receiving notice shall be

tolled during the period from the date of this Order until the parties file
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a Case Management Report lifting the stay on these proceedings.

     18.     Should the parties settle this dispute at any later time, they

shall immediately advise the Court as required by Local Rule 3.08(a) and

promptly submit a Motion for Court Approval of the Settlement containing the

terms of the settlement.

     19.     The parties may consent to the jurisdiction of the United States

Magistrate Judge assigned to this case.

     20.     Absent compelling circumstances and leave of Court, Lead Counsel

must appear in person at the Case Management Hearing. Lead Counsel must be

prepared to discuss the claims and defenses as well as any unique aspects of

the case with the Court. This hearing is an investment of the Court’s time

and presents an opportunity for counsel to meet the judge presiding over

their case, as well as present any issues that should be called to the Court’s

attention.

     21.     Due to the volume of cases based on the FLSA, the Court expects

strict adherence to these deadlines. Exceptions will be granted only for

compelling reasons. Failure to comply may result in the imposition of

sanctions, including but not limited to the dismissal of the case and the

striking of pleadings. However, either party, for good cause shown, may move

to alter this schedule should circumstances warrant.

             DONE and ORDERED in Chambers, in Tampa, Florida on this

11th day of March, 2022.
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Attachments:
Court’s Interrogatories
Magistrate Judge Consent Form
FLSA Fast-Track Case Management Report
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                COURT’S INTERROGATORIES TO PLAINTIFF

1.   During what period of time were you employed by the
Defendant?

2.   Who was your immediate supervisor?

3.   Did you have a regularly scheduled work period? If so,
specify.

4.   What was your title or position? Briefly describe your job
duties.

5.   What was your regular rate of pay?

6.   What is the nature of your claim (check all that apply)?

     _____ Off the clock work (Defendant failed to record, or
prohibited you from recording, all of your working time);

     _____ Misclassification (Defendant mistakenly classified
you as exempt from over-time);

     _____ Miscalculation (Defendant failed to correctly
calculate your compensation);

     _____ Other (please describe):______________________.

7.   Provide an accounting of your claim, including:

           (a) dates worked;

           (b) regular hours worked;

           (c) over-time hours worked;

           (d) pay received versus pay claimed; and

           (e) total amount claimed

8.   If you have brought this case as a collective action:

          (a) Describe the class of employees you seek to
include in this action.

          (b) Has an opt-in notice been filed for every
potential opt-in Plaintiff who has identified himself or herself
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as a person who wishes to join this action?

9.   Specify all attorney’s fees and costs incurred to date.
With respect to attorney’s fees, provide the hourly rate(s)
sought and the number of hours expended by each person who has
billed time to this case.

10. When did you (or your attorney) first complain to your
employer about alleged violations of the FLSA?

11. Was this complaint written or oral? (If a written
complaint, please attach a copy).

12. What was your employer’s response? (If a written response,
please attach a copy).


                                     _________________________________
                                        (Plaintiff’s Signature)
STATE OF FLORIDA
COUNTY OF __________________


     BEFORE ME, the undersigned authority, on this day,
personally appeared ________________________________, who being
first duly sworn, and ____ who is personally known to me or ____
who produced _________ as identification, deposes and says that
he/she has read the foregoing Answers to Interrogatories, knows
the contents of same, and to the best of his/her knowledge and
belief, the same are true and correct.

     SWORN TO AND SUBSCRIBED before me on this _______ day
of_______, 20___.

                                        NOTARY PUBLIC


                                       ______________________________
                            Signature of Person Taking Acknowledgment

Notary Stamp                       Print Name:
                                        Title: Notary Public
                                        Serial No. (if any):
                                        Commission Expires:
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AO 85 (Rev. locally 5/99) Notice, Consent, and Order of Reference B Exercise of Jurisdiction by a United States Magistrate Judge

                                                        UNITED STATES DISTRICT COURT
                                                             Middle District of Florida

_____________________________________,

Plaintiff(s)

v.                                                                                               Case Number: ____________________________

_____________________________________,

Defendant(s)

               NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE TO EXERCISE JURISDICTION

           In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, you are hereby notified that a United States
Magistrate Judge of this District Court is available to conduct any or all proceedings in this case, including a jury or bench trial, and to order the entry
of a final judgment. Exercise of this jurisdiction by a Magistrate Judge is, however, permitted only if all parties voluntarily consent, as evidenced by
execution of the Consent portion hereof, all together on this form, to the exercise of jurisdiction by a United States Magistrate Judge.

          You may, without adverse substantive consequences, withhold your consent; but this will prevent the Court's jurisdiction from being
exercised by a Magistrate Judge. If any party withholds consent, the identity of the parties consenting or withholding consent will not be
communicated to any Magistrate Judge or to the District Judge to whom the case has been assigned.

           Appeal from a judgment entered by a Magistrate Judge shall be taken directly to the United States Court of Appeals for the Eleventh
Circuit, in the same manner as an appeal from any other judgment of this District Court.

                   CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, the parties in this case hereby voluntarily consent to have a
United States Magistrate Judge conduct any and all further proceedings in the case, including the trial; order the entry of a final judgment; and
conduct all post-judgment proceedings, as necessary.

Signatures                                          Parties Represented                                                     Date Signed

____________________________ ____________________________________________                                         ____________________


____________________________ ____________________________________________                                         ____________________

____________________________ ____________________________________________                                         ____________________


                                                              ORDER OF REFERENCE

IT IS HEREBY ORDERED that this case be referred to Honorable, __________________________________, United States Magistrate
Judge, for all further proceedings and the entry of judgment in accordance with 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, and the foregoing
consent of the parties.

_____________________                               ________________________________________________________________
Date                                                        VIRGINIA M. HERNANDEZ COVINGTON,
                                                                    United States District Judge

NOTE: RETURN THIS FORM TO CLERK OF COURT ONLY IF ALL PARTIES HAVE SIGNED ON
THIS FORM CONSENTING TO EXERCISE OF JURISDICTION BY A MAGISTRATE JUDGE.
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                                                United States District Court
                                                 Middle District of Florida
                                                     Tampa Division
__________________________________,
Plaintiff(s),

v.                                                                 Case No. ______________________________

__________________________________,
Defendant(s).
______________________________________________/

                                                  CASE MANAGEMENT REPORT

                                          TO BE USED FOR THE FOLLOWING CASES:
                                             FAIR LABOR STANDARDS ACT (FLSA);
                                     TITLE III AMERICANS WITH DISABILITIES ACT (ADA);
                                      FAIR DEBT COLLECTION PRACTICES ACT (FDCPA);
                                      TELEPHONE CONSUMER PROTECTION ACT (TCPA);
                                  FLORIDA CONSUMER COLLECTION PRACTICES ACT (FCCPA);
                                  REAL ESTATE SETTLEMENT PROCEDURES ACT (RESPA); AND
                                            FAIR CREDIT REPORTING ACT (FCRA).

         The parties have agreed on the following dates and discovery plan pursuant to Fed. R. Civ. P. 26(f):

                                      DEADLINE OR EVENT
                                                                                                          AGREED DATE
 Certificate of Interested Persons and Corporate Disclosure Statement

 Mandatory Initial Disclosures

 Discovery Deadline

 Dispositive Motions

 Meeting In Person to Prepare Joint Final Pretrial Statement

 Joint Final Pretrial Statement
 [Including a Single Set of Jointly-Proposed Jury Instructions and Verdict Form, Voir Dire
 Questions, Witness Lists, & Exhibit Lists with Objections on Approved Form (to be e-mailed in
 Word format to chambers_flmd_covington@flmd.uscourts.gov)]
 Final Pretrial Conference
 [The Court will set a date]
 Trial Term Begins
 [Trial term must be 5 weeks after dispositive motions deadline (unless filing of such motions is
 waived); district judge trial terms begin on the first Monday of each month; trials before magistrate
 judges will be set on a date certain after consultation with the parties]
 [90-120 days after mediation conference]
 Estimated Length of Trial
 [Number of trial days]

 Jury / Non-Jury
